Case 1:18-cr-00681-NGG-CLP Document 704-1 Filed 08/03/24 Page 1 of 8 PageID #: 20154




                                     Exhibit A
Case 1:18-cr-00681-NGG-CLP Document 704-1 Filed 08/03/24 Page 2 of 8 PageID #: 20155




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
    – – – – – – – – – – – – – – – – – –X

    UNITED STATES OF AMERICA

          - against -                                      VERDICT SHEET
                                                           18 CR 681 (S-3) (NGG)
    MANUEL CHANG,
        also known as “Pantero”
         “Chopstick” and “Kung Fu,”

                         Defendant.

    – – – – – – – – – – – – – – – – – –X


                                      COUNT ONE
                            (Conspiracy to Commit Wire Fraud)

         As to defendant MANUEL CHANG

                                      Guilty ___________   Not Guilty ___________



                                      COUNT TWO
                        (Conspiracy to Commit Money Laundering)

         As to defendant MANUEL CHANG:

                                      Guilty ___________   Not Guilty ___________
Case 1:18-cr-00681-NGG-CLP Document 704-1 Filed 08/03/24 Page 3 of 8 PageID #: 20156




                                     Exhibit B
Case 1:18-cr-00681-NGG-CLP Document 704-1 Filed 08/03/24 Page 4 of 8 PageID #: 20157




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
    – – – – – – – – – – – – – – – – – –X

    UNITED STATES OF AMERICA

          - against -                                      VERDICT SHEET
                                                           18 CR 681 (S-3) (NGG)
    MANUEL CHANG,
        also known as “Pantero”
         “Chopstick” and “Kung Fu,”

                         Defendant.

    – – – – – – – – – – – – – – – – – –X


                                      COUNT ONE
                            (Conspiracy to Commit Wire Fraud)

         As to defendant MANUEL CHANG

                                      Guilty ___________   Not Guilty ___________
Case 1:18-cr-00681-NGG-CLP Document 704-1 Filed 08/03/24 Page 5 of 8 PageID #: 20158




                                         COUNT TWO
                           (Conspiracy to Commit Money Laundering)

          As to defendant MANUEL CHANG:

                                      Guilty ___________      Not Guilty ___________


   If you find the defendant guilty on Count Two, indicate below the one or more objects of the
   conspiracy charged in Count Two on which you all agree that the defendant conspired to commit
   (select as many as you all agree on):

                                      __________ Object #1: Violating the Money Laundering
                                                 Statute (International Transfer to Promote
                                                 Specified Unlawful Activity)


                                      __________ Object #2: Violating the Money Laundering
                                                 Statute (International Transfer to Conceal or
                                                 Disguised Proceeds of Specified Unlawful
                                                 Activity)
Case 1:18-cr-00681-NGG-CLP Document 704-1 Filed 08/03/24 Page 6 of 8 PageID #: 20159




                                     Exhibit C
Case 1:18-cr-00681-NGG-CLP Document 704-1 Filed 08/03/24 Page 7 of 8 PageID #: 20160




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
    – – – – – – – – – – – – – – – – – –X

    UNITED STATES OF AMERICA

           - against -                                           VERDICT SHEET
                                                                 18 CR 681 (S-3) (NGG)
    MANUEL CHANG,
        also known as “Pantero”
         “Chopstick” and “Kung Fu,”

                             Defendant.

    – – – – – – – – – – – – – – – – – –X


                                          COUNT ONE
                                (Conspiracy to Commit Wire Fraud)

          As to defendant MANUEL CHANG

                                          Guilty ___________    Not Guilty ___________

   If you find the defendant guilty on Count One, indicate below the one or more provisions on
   which you all agree that the United States has proven venue (select as many as you all agree on).
   The United States must prove venue by a preponderance of the evidence, meaning that the
   evidence need only prove that it is more likely than not that either or both venue provisions are
   satisfied.

                                          __________ 18 U.S.C. § 3238: First Brought Venue


                                          __________ 18 U.S.C. § 3237: Acts Occurring in this
                                                     District
Case 1:18-cr-00681-NGG-CLP Document 704-1 Filed 08/03/24 Page 8 of 8 PageID #: 20161




                                         COUNT TWO
                           (Conspiracy to Commit Money Laundering)

          As to defendant MANUEL CHANG:

                                      Guilty ___________      Not Guilty ___________


   If you find the defendant guilty on Count Two, indicate below the one or more objects of the
   conspiracy charged in Count Two on which you all agree that the defendant conspired to commit
   (select as many as you all agree on):

                                      __________ Object #1: Violating the Money Laundering
                                                 Statute (International Transfer to Promote
                                                 Specified Unlawful Activity)


                                      __________ Object #2: Violating the Money Laundering
                                                 Statute (International Transfer to Conceal or
                                                 Disguised Proceeds of Specified Unlawful
                                                 Activity)
